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 8
                              UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA

     ALU BANARJI, individually and on behalf of ) Case No. '14CV2967 BEN KSC
10
11   all others similarly situated,             )
                                                ) CLASS ACTION
12                  Plaintiff,                  )
                                                ) COMPLAINT FOR VIOLATIONS OF:
13
             vs.                                )
14                                              )     1.    NEGLIGENT VIOLATIONS OF
     WILSHIRE CONSUMER CREDIT,                  )           THE TELEPHONE CONSUMER
15                                              )           PROTECTION ACT [47 U.S.C.
                                                            §227 ET SEQ.]
16                  Defendant.                  )     2.    WILLFUL VIOLATIONS OF
                                                )           THE TELEPHONE CONSUMER
17                                              )           PROTECTION ACT [47 U.S.C.
                                                )           §227 ET SEQ.]
18                                              )     3.    VIOLATIONS    OF THE
                                                )           ROSENTHAL    FAIR DEBT
19                                                          COLLECTION    PRACTICES
                                                )
                                                            ACT [CAL. CIV. CODE §1788
20                                              )           ET SEQ.]
                                                )
21
                                                      DEMAND FOR JURY TRIAL
22
23
24          Plaintiff Alu Banarji (“Plaintiff”), individually and on behalf of all others similarly
25   situated, alleges the following upon information and belief based upon personal knowledge:
26                                    NATURE OF THE CASE
27          1.     Plaintiff brings this action individually and on behalf of all others similarly
28   situated seeking damages and any other available legal or equitable remedies resulting from the



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 1   illegal actions of Wilshire Consumer Credit (“Defendant”) in negligently, knowingly, and/or
 2   willfully contacting Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone
 3   Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading Plaintiff’s
 4   privacy.    Ancillary to the claims above, Plaintiff     further alleges claims for Defendant’s
 5   violations of the Rosenthal Fair Debt Collection Practices Act (“RFDCPA”), which prohibits
 6   debt collectors from engaging in abusive, deceptive, and unfair practices
 7                                    JURISDICTION & VENUE
 8          2.       Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff, a resident
 9   of California, seeks relief on behalf of a Class, which will result in at least one class member
10   belonging to a different state than that of Defendant, a company with its principal place of
11   business and State of Incorporation in Utah state. Plaintiff also seeks up to $1,500.00 in
12   damages for each call in violation of the TCPA, which, when aggregated among a proposed
13   class in the thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
14   Therefore, both diversity jurisdiction and the damages threshold under the Class Action
15   Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
16          3.       Venue is proper in the United States District Court for the Southern District of
17   California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a) because Defendant does
18   business within the state of California and the Southern District of California.
19                                              PARTIES
20          4.       Plaintiff, Alu Banarji (“Plaintiff”), is a natural person residing in El Cajon,
21   California and is a “person” as defined by 47 U.S.C. § 153 (10), and is a “debtor” as defined by
22   Cal. Civ. Code §1788.2(h).
23          5.       Defendant, Wilshire Consumer Credit (“Defendant”), is a business that loans
24   money to consumers and is a “person” as defined by 47 U.S.C. § 153 (10). Further, Defendant
25   was   a company engaged, by use of the mails and telephone, in the business of collecting a
26   debt from Plaintiff which qualifies as a “consumer debt,” as defined by Cal. Civ. Code
27   §1788.2(f). Defendant regularly attempts to collect debts alleged to be due to Defendant, and
28   therefore is a “debt collector” as defined by the RFDCPA, Cal. Civ. Code §1788.2(c).



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 1                                     FACTUAL ALLEGATIONS
 2           6.     At various and multiple times prior to the filing of the instant Complaint,
 3   including within the one year preceding the filing of this Complaint, Defendant contacted
 4   Plaintiff in an attempt to collect an alleged outstanding debt.
 5           7.     Beginning in and around 2014, Defendant contacted Plaintiff on her cellular
 6   telephone in an attempt to collect an alleged outstanding debt.
 7           8.     Defendant was calling Plaintiff on her cellular telephone number ending in -
 8   0861.
 9           9.     Defendant used an “automatic telephone dialing system”, as defined by 47
10   U.S.C. § 227(a)(1) to place its daily calls to Plaintiff seeking to collect the debt allegedly owed.
11           10.    Defendant called Plaintiff on her cellular telephone with enough frequency to
12   constitute harassment under the circumstance.
13           11.    Defendant’s calls constituted calls that were not for emergency purposes as
14   defined by 47 U.S.C. § 227(b)(1)(A).
15           12.    Defendant’s calls were placed to telephone number assigned to a cellular
16   telephone service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. §
17   227(b)(1).
18           13.    Defendant’s actions resulted in false and deceptive acts toward the Plaintiff.
19   Defendant made the Plaintiff, at all relevant times, believe that legal action would be instituted
20   against Plaintiff and that failure to heed the threats of legal action would result in the taking of
21   Plaintiff’s property.
22           14.    Defendant never received Plaintiff’s “prior express consent” to receive calls
23   using an automatic telephone dialing system or an artificial or prerecorded voice on her cellular
24   telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
25           15.    § 1788.17 of the RFDCPA mandates that every debt collector collecting or
26   attempting to collect a consumer debt shall comply with the provisions of Sections 1692b to
27   1692j, inclusive of, and shall be subject to the remedies in Section 1692k or, Title 15 of the
28   United States Code statutory regulations contained within the federal Fair Debt Collection



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 1   Practices Act (“FDCPA”), 15 U.S.C. § 1692d, and § 1692d(5).
 2          16.       Defendant’s conduct violated the RFDCPA in multiple ways, including but not
 3   limited to:
                   a) Causing Plaintiff’s telephone to ring repeatedly or continuously
 4
                      with intent to harass, annoy or abuse Plaintiff (§1692d(5));
 5
                   b) Communicating with Plaintiff at times or places which were
 6                    known or should have been known to be inconvenient for
                      Plaintiff (§ 1692c(a)(1));
 7
 8                 c) Causing a telephone to ring repeatedly or continuously to annoy
                      Plaintiff (Cal Civ Code §1788.11(d));
 9
10                 d) Communicating, by telephone or in person, with Plaintiff with
                      such frequency as to be unreasonable and to constitute an
11                    harassment to Plaintiff under the circumstances (Cal Civ Code
                      §1788.11(e));
12
13                 e) Engaging in conduct the natural consequence of which is to
                      harass, oppress, or abuse Plaintiff (§1692d));
14
                   f) Falsely representing the character, amount, or legal status of
15                    Plaintiff’s debt (§1692e(2)(A));
16
17                 g) Using false representations and deceptive practices in connection
                      with collection of an alleged debt from Plaintiff (§ 1692e(10));
18
19                 h) Falsely representing or implying that nonpayment of Plaintiff’s
                      debt would result in the seizure, garnishment, attachment, or sale
20                    of Plaintiff’s property or wages, where such action is not lawful
21                    or Defendant did not intend to take such action (§ 1692e(4));

22
                   i) Threatening to take an action against Plaintiff that cannot legally
23                    be taken or that was not actually intended to be taken (§
                      1692e(5));
24
25
                   j) Threatening Plaintiff that nonpayment of Plaintiff’s debt may
26                    result in the arrest of Plaintiff or the seizure, garnishment,
                      attachment or sale of any property or the garnishment or
27                    attachment or wages of Plaintiff, where such action was not in
                      fact contemplated by the debt collector and permitted by the law
28
                      (Cal. Civ. Code § 1788.10(e));


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 1
                  k) Threatening to take an action against Plaintiff that is prohibited
 2
                     by § 1788 of the California Civil Code (Cal. Civ. Code §
 3                   1788.10(f)); and

 4
                  l) Falsely representing that a legal proceeding has been, is about to
 5                   be, or will be instituted unless payment of a consumer debt is
                     made (Cal. Civ. Code § 1788.13(j)).
 6
 7          17.      Defendant’s conduct violated the TCPA by:
 8
                     a) using any automatic telephone dialing system or an artificial
 9                      or pre-recorded voice to any telephone number assigned to a
                        paging service, cellular telephone service, specialized mobile
10                      radio service, or other radio common carrier service, or any
11                      service for which the called party is charged for the call (47
                        USC §227(b)(A)(iii)).
12
            18.      As a result of the above violations of the RFDCPA and TCPA, Plaintiff suffered
13
14   and continues to suffer injury to Plaintiff’s feelings, personal humiliation, embarrassment,

15   mental anguish and emotional distress, and Defendant is liable to Plaintiff for Plaintiff’s actual
16   damages, statutory damages, and costs and attorney’s fees.
17
18                                       CLASS ALLEGATIONS

19          19.      Plaintiff brings this action individually and on behalf of all others similarly

20   situated, as a member of the proposed class (hereafter “The Class”) defined as follows:

21                   All persons within the United States who received any collection
                     telephone calls from Defendant to said person’s cellular
22                   telephone made through the use of any automatic telephone
23                   dialing system and such person had not previously consented to
                     receiving such calls within the four years prior to the filing of this
24                   Complaint
25
            20.      Plaintiff represents, and is a member of, The Class, consisting of All persons
26
     within the United States who received any collection telephone calls from Defendant to said
27
     person’s cellular telephone made through the use of any automatic telephone dialing system or
28



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 1   an artificial or prerecorded voice and such person had not previously not provided their cellular
 2   telephone number to Defendant within the four years prior to the filing of this Complaint.
 3          21.     Defendant, its employees and agents are excluded from The Class. Plaintiff
 4   does not know the number of members in The Class, but believes the Class members number in
 5   the thousands, if not more. Thus, this matter should be certified as a Class Action to assist in
 6   the expeditious litigation of the matter.
 7          22.     The Class is so numerous that the individual joinder of all of its members is
 8   impractical. While the exact number and identities of The Class members are unknown to
 9   Plaintiff at this time and can only be ascertained through appropriate discovery, Plaintiff is
10   informed and believes and thereon alleges that The Class includes thousands of members.
11   Plaintiff alleges that The Class members may be ascertained by the records maintained by
12   Defendant.
13          23.     Plaintiff and members of The Class were harmed by the acts of Defendant in at
14   least the following ways: Defendant illegally contacted Plaintiff and Class members via their
15   cellular telephones thereby causing Plaintiff and Class members to incur certain charges or
16   reduced telephone time for which Plaintiff and Class members had previously paid by having to
17   retrieve or administer messages left by Defendant during those illegal calls, and invading the
18   privacy of said Plaintiff and Class members.
19          24.     Common questions of fact and law exist as to all members of The Class which
20   predominate over any questions affecting only individual members of The Class.               These
21   common legal and factual questions, which do not vary between Class members, and which
22   may be determined without reference to the individual circumstances of any Class members,
23   include, but are not limited to, the following:
24                  a.      Whether, within the four years prior to the filing of this Complaint,
25                          Defendant made any collection call (other than a call made for
26                          emergency purposes or made with the prior express consent of the called
27                          party) to a Class member using any automatic telephone dialing system
28                          or any artificial or prerecorded voice to any telephone number assigned



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 1                          to a cellular telephone service;
 2                  b.      Whether Plaintiff and the Class members were damages thereby, and the
 3                          extent of damages for such violation; and
 4                  c.      Whether Defendant should be enjoined from engaging in such conduct in
 5                          the future.
 6           25.    As a person that received numerous collection calls from Defendant using an
 7   automatic telephone dialing system or an artificial or prerecorded voice, without Plaintiff’s
 8   prior express consent, Plaintiff is asserting claims that are typical of The Class.
 9           26.    Plaintiff will fairly and adequately protect the interests of the members of The
10   Class. Plaintiff has retained attorneys experienced in the prosecution of class actions.
11           27.    A class action is superior to other available methods of fair and efficient
12   adjudication of this controversy, since individual litigation of the claims of all Class members
13   is impracticable. Even if every Class member could afford individual litigation, the court
14   system could not. It would be unduly burdensome to the courts in which individual litigation
15   of numerous issues would proceed. Individualized litigation would also present the potential
16   for varying, inconsistent, or contradictory judgments and would magnify the delay and expense
17   to all parties and to the court system resulting from multiple trials of the same complex factual
18   issues. By contrast, the conduct of this action as a class action presents fewer management
19   difficulties, conserves the resources of the parties and of the court system, and protects the
20   rights of each Class member.
21           28.    The prosecution of separate actions by individual Class members would create a
22   risk of adjudications with respect to them that would, as a practical matter, be dispositive of the
23   interests of the other Class members not parties to such adjudications or that would
24   substantially impair or impede the ability of such non-party Class members to protect their
25   interests.
26           29.    Defendant has acted or refused to act in respects generally applicable to The
27   Class, thereby making appropriate final and injunctive relief with regard to the members of the
28   California Class as a whole.



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 1                                    FIRST CAUSE OF ACTION
 2                   Negligent Violations of the Telephone Consumer Protection Act
 3                                        47 U.S.C. §227 et seq.
 4          30.       Plaintiff repeats and incorporates by reference into this cause of action the
 5   allegations set forth above at Paragraphs 1-26.
 6          31.       The foregoing acts and omissions of Defendant constitute numerous and
 7   multiple negligent violations of the TCPA, including but not limited to each and every one of
 8   the above cited provisions of 47 U.S.C. § 227 et seq.
 9          32.       As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,
10   Plaintiff and the Class Members are entitled an award of $500.00 in statutory damages, for
11   each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
12          33.       Plaintiff and the Class members are also entitled to and seek injunctive relief
13   prohibiting such conduct in the future.
14                                   SECOND CAUSE OF ACTION
15         Knowing and/or Willful Violations of the Telephone Consumer Protection Act
16                                        47 U.S.C. §227 et seq.
17          34.       Plaintiff repeats and incorporates by reference into this cause of action the
18   allegations set forth above at Paragraphs 1-30.
19          35.       The foregoing acts and omissions of Defendant constitute numerous and
20   multiple knowing and/or willful violations of the TCPA, including but not limited to each and
21   every one of the above cited provisions of 47 U.S.C. § 227 et seq.
22          36.       As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227
23   et seq., Plaintiff and the Class members are entitled an award of $1,500.00 in statutory
24   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
25   227(b)(3)(C).
26          37.       Plaintiff and the Class members are also entitled to and seek injunctive relief
27   prohibiting such conduct in the future.
28   ///



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 1                                   THIRD CAUSE OF ACTION
 2                 Violations of the Rosenthal Fair Debt Collection Practices Act
 3                                   Cal. Civ. Code § 1788 et seq.
 4
            38.     Plaintiff repeats and reincorporates by reference into this cause of action
 5
 6   allegations set forth above at paragraphs 1-37.

 7          39.     To the extent that Defendant’s actions, counted above, violated the RFDCPA,
 8
     those actions were done knowingly and willfully.
 9
10                                      PRAYER FOR RELIEF

11          WHEREFORE, Plaintiff requests judgment against Defendant for the following:

12                                   FIRST CAUSE OF ACTION

13                Negligent Violations of the Telephone Consumer Protection Act

14                                       47 U.S.C. §227 et seq.

15                x As a result of Defendant’s negligent violations of 47 U.S.C. §227(b)(1),

16                  Plaintiff and the Class members are entitled to and request $500 in statutory

17                  damages, for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B).

18                x Any and all other relief that the Court deems just and proper.

19
20
21                                 SECOND CAUSE OF ACTION

22         Knowing and/or Willful Violations of the Telephone Consumer Protection Act

23                                       47 U.S.C. §227 et seq.

24                x As a result of Defendant’s willful and/or knowing violations of 47 U.S.C.

25                  §227(b)(1), Plaintiff and the Class members are entitled to and request treble

26                  damages, as provided by statute, up to $1,500, for each and every violation,

27                  pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).

28                x Any and all other relief that the Court deems just and proper.



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 1                               THIRD CAUSE OF ACTION
 2                Violations of the Rosenthal Fair Debt Collection Practices Act
 3                                  Cal. Civ. Code § 1788 et seq.
 4
     WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant for the
 5
 6   following:

 7
                   A.     Actual damages;
 8
                   B.     Statutory damages for willful and negligent violations;
 9
                   C.     Costs and reasonable attorney’s fees,
10
                   D.     For such other and further relief as may be just and proper.
11
            Respectfully submitted this 17th day of December, 2014.
12
13
                                         LAW OFFICES OF TODD M. FRIEDMAN, P.C.
14
15
                                          By:   /s/ Todd M. Friedman
16                                              Todd M. Friedman
                                                Law Offices of Todd M. Friedman
17                                              Attorney for Plaintiff
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